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                                 UNITED STATES DISTRICT COURT

                                   DISTRICT OF MINNESOTA



Jimmy Morton,                                          Civil File No: 19-cv-3134 (ECT/LIB)
                    Plaintiff,
vs.                                                          PROTECTIVE ORDER
Park Christian School, Christopher
Nellermoe, Joshua Lee and Timothy Kerr,
                    Defendants.


       Upon consideration of the parties’ Stipulation for Protective Order, [Docket No. 24], as

slightly modified by the Court pursuant to its inherent authority to manage the cases that are

pending before the Court,

       IT IS HEREBY ORDERED THAT:

Definitions. As used in this protective order:

           (a)    “action” means the above-entitled proceedings: Jimmy Morton v. Park

                  Christian School, Christopher Nellermoe, Joshua Lee, and Timothy Kerr,

                  Case No. 19-cv-03134, and any appeals therefrom.

           (b)    “attorney” means an attorney who has appeared in this action;

           (c)    “confidential materials” means any documents, testimony, or information

                  which a designating party believes in good faith are entitled to confidential

                  treatment under the law, and may include without limitation, educational

                  history, employment history, tax information, trade secrets, financial data,

                  personnel information, training records and information, and/or proprietary or



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         other business confidential information relating to a business and its

         operations;

   (d)   “designating party” means the party that designates any documents,

         testimony, or information as “confidential materials”;

   (e)   to “destroy” electronically stored information means to delete from all

         databases, applications, and file systems so that the information is not

         accessible without the use of specialized tools or techniques typically used by

         a forensic expert;

   (f)   “document” means information disclosed or produced in discovery, including

         at a deposition, and any materials within the scope of Federal Rule of Civil

         Procedure 26;

   (g)   “expert” means a person with specialized knowledge or experience in a matter

         pertinent to this action who has been retained by a party or its counsel to serve

         as an expert witness or as a consultant in this action (whether or not retained

         to testify at any oral hearing) and who is not a past or current employee of any

         party. This definition includes a professional jury or trial consultant;

   (h)   “materials” mean any documents, information, testimony, data, or other

         tangible items disclosed in this action;

   (i)   “notice” or “notify” means written notice;

   (j)   “party” means a party to this action; and

   (k)   “professional vendor” means any person or entity that provides litigation

         support services (e.g., photocopying, videotaping, translating, preparing



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                exhibits or demonstrations, organizing, storing, retrieving, or copying data in

                any form or medium, etc.) and its employees and subcontractors;

        (l)     “protected document” means a document protected by a privilege or the work-

                product doctrine.

1.   Process for Designating Confidential Materials. A party or non-party disclosing or

     producing materials may designate the materials as confidential if the party or non-party

     believes in good faith that it contains confidential or proprietary information.

        (a)     Documents. A party or non-party may designate a document as confidential

                by conspicuously marking each page with the word “confidential.” In the case

                of a multi-page document, designating the first page of said document as

                “confidential” will have the same effect as designating each page of the

                document as “confidential.”

        (b)     Testimony. Deposition testimony may be designated as confidential:

                (1)     on the record at the deposition; or

                (2)     after the deposition, by promptly notifying the parties and those who

                        were present at the deposition.

        (c)     If a witness is expected to testify as to confidential or proprietary information,

                a party or non-party may request that the witness’s deposition be taken in the

                presence of only those persons entitled to receive confidential documents.

2.   Process for Challenging Designations. In the event that counsel for a party receiving

     materials designated as “confidential” objects to such designation with respect to any or

     all materials, the parties shall first try to resolve such dispute in good faith on an informal

     basis amongst themselves. If the dispute cannot be resolved informally, counsel for the
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   party objecting to the designation(s) shall advise counsel for the designating party, in

   writing, (a) of its objections, (b) the specific materials to which each objection pertains,

   and (c) the specific reason for such objections (the “designation objections”). Counsel for

   the designating party shall have fifteen (15) days from receipt of the written designation

   objections to either (a) agree in writing to de-designate the materials pursuant to any or

   all of the designation objections and/or (b) provide, in writing, brief explanations

   supporting its choice of designation for the materials in question. If the party objecting to

   the designation(s) remains dissatisfied, it may apply for appropriate relief with the court.

   The designating party shall have the burden of establishing that the materials are entitled

   to their “confidential” designations. Pending a resolution of the designation motion by the

   court, any and all existing designations of the materials at issue in such motion shall

   remain in place.

3. Who May Receive Confidential Materials.

      (a)     Confidential materials may be used only in this action.

      (b)     No person receiving confidential materials may reveal such materials, except

              to:

              (1)     the court and its staff;

              (2)     an attorney or an attorney’s partner, associate, or staff who are

                      involved in this action;

              (3)     a person shown on the face of the confidential material to have

                      authored or received it;

              (4)     a court reporter or videographer retained in connection with this

                      action;

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         (5)    a party (subject to paragraph 3(c));

         (6)    any deposition, trial, or hearing witness in this action who previously

                has had access to the confidential materials, or who is currently or was

                previously an officer, director, partner, member, employee, or agent of

                an entity that has had access to the confidential materials;

         (7)    professional vendors;

         (8)    mediators and/or arbitrators, including their employees and staff, the

                parties retained in connection with this action;

         (9)    experts and the staff in their employ, provided however that prior to

                the disclosure of the confidential materials to any such expert or staff,

                counsel for the party making the disclosure shall deliver a copy of the

                Joint Stipulation for Protective Order to such person(s), shall explain

                on a statement in the form attached hereto as Exhibit A;

         (10)   any other person or entity the designating party agrees to in writing;

                and

         (11)   any person who:

                 (A)     is retained to assist a party or attorney with this action; and

                 (B)     signs a declaration that contains the person’s name, address,

                         employer, and title, and that is in substantially the form

                         attached hereto as Exhibit A.

   (c)   If confidential materials is revealed to someone not entitled to receive it, the

         parties must make reasonable efforts to retrieve it.



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4. Serving This Protective Order on a Non-Party. A party serving a subpoena on a non-

   party must simultaneously serve a copy of this protective order and of Local Rule 5.6.

5. Inadvertent Failure to Designate/Inadvertent Disclosure.

      (a)     A party or non-party who discloses or produces confidential materials not

              designated as “confidential” may, within 7 days after discovering the error,

              provide notice of the error and produce a copy of the material designated as

              confidential.

      (b)     The inadvertent disclosure by any party or non-party of any confidential

              materials shall be without prejudice to any claim that such materials are

              confidential and such party shall not be held to have waived any rights by

              such inadvertent disclosure.

      (c)     A party who discovers that it may have received an inadvertently disclosed or

              produced protected document must promptly notify the disclosing or

              producing party or non-party.

      (d)     The inadvertent disclosure of materials subject to the attorney-client privilege,

              attorney work product doctrine, or other applicable privileges shall not be

              deemed a waiver of any privilege or doctrine or protection.

      (e)     Whenever counsel receives materials that obviously appear to be subject to

              the attorney-client privilege, work production doctrine, or other applicable

              privileges and where it is reasonably apparent that the materials were provided

              or made available through inadvertence, the attorney receiving such materials

              should refrain from examining them any more than is essential to ascertain if

              they are privileged, and shall immediately notify the sender that he or she
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         possesses materials that appear to be privileged. The receiving attorney shall

         also destroy all copies of the privileged, inadvertently disclosed materials.

   (f)   In the event of an inadvertent disclosure of materials subject to the attorney-

         client privilege, the work product doctrine, or other applicable privilege, the

         producing party may give written notice to the receiving parties that the

         materials are privileged or immune from discovery, stating the grounds for

         such privilege or immunity, and request that they be returned to the producing

         party. The producing party shall give such notice as soon as practicable after

         discovering the inadvertent disclosure. Immediately upon receiving such

         notice, the receiving Parties may not use the alleged privileged materials and

         shall immediately segregate them in a manner that will prevent further

         disclosure or dissemination of their contents. Within 5 business days of

         receiving such notice, the receiving parties shall destroy or return to the

         producing party such materials and all copies thereof.

   (g)   If the receiving party disagrees with the designation of any inadvertently

         disclosed materials as privileged or subject to the work product doctrine, the

         Parties agree that they will follow the procedures set forth in Paragraph 2 to

         resolve their dispute. The producing party agrees to preserve the inadvertently

         disclosed materials until the parties informally resolve their dispute or the

         court, upon a motion by the receiving party, determines how the materials

         should be designated.

   (h)   A party who is notified or discovers that it may have received a protected

         document must comply with Federal Rules of Civil Procedure 26(b)(5)(B).

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6.   Use of Designated Confidential Materials.

     If a party files documents with the Court containing information designated as protected

     pursuant to the terms of this Protective Order, the filings must be in compliance with the

     Electronic Case Filing Procedures for the District of Minnesota. The parties are advised

     that designation by a party of a document as protected pursuant to the terms of this Order

     cannot be used as the sole basis for filing the document under seal in connection with

     either a nondispositive motion, dispositive motion, trial related motion, or trial. Only

     those documents and portions of a party’s submission, or any part thereof, which

     otherwise meets requirements for protection from public filing under Federal Rule 26(c)

     (or in addition, but not limited to, under a statute, rule or regulation prohibiting public

     disclosure, Order of the Court, or other legal authority) shall be filed under seal. If a

     party intends to file with the Court a document designated by another party as protected

     pursuant to the terms of this Order, then that filing party shall provide reasonable advance

     notice to the designating party of such intent so that the designating party may determine

     whether or not they should seek to require the protected document to be filed under seal.

     The filing of documents under seal must comply with Rule 5.6 of the Local Rules of

     the United States District Court for the District of Minnesota. Further, any party

     intending to file a document under seal shall specifically review each document and the

     information therein to determine whether or not there is a good faith basis to believe that

     any privacy interest therein for sealing the document will ultimately outweigh the

     public’s right to access filings on the Court’s docket; only documents that meet this good

     faith basis should be considered for filing under seal so as to limit the unnecessary and

     problematic filing of excessive documents under seal.

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7.      Changing Confidential Materials’ Designation.

           (a)    Materials disclosed or produced by a party. Confidential materials disclosed

                  or produced by a party remains confidential unless the parties agree to change

                  its designation or the court orders otherwise.

           (b)    Materials produced by a non-party. Confidential materials produced by a non-

                  party remains confidential unless the non-party agrees to change its

                  designation or the court orders otherwise after providing an opportunity for

                  the non-party to be heard.

           (c)    Changing a designation by court order. A party who cannot obtain agreement

                  to change a designation may move the court for an order changing the

                  designation. If the motion affects a document produced by a non-party then,

                  with respect to the motion, that non-party is entitled to the same notice and

                  opportunity to be heard as a party. The process in Paragraph 2 above shall be

                  applied. The party or non-party who designated a document as confidential

                  must show that the designation satisfies Federal Rule of Civil Procedure 26(c).

     8. Handling Confidential Materials after Termination of Litigation.

           (a)    Within 60 days after the termination of this action (including any appeals),

                  each party must:

                    (1)    return or destroy all confidential materials; and

                    (2)    notify the disclosing or producing party that it has returned or

                           destroyed all confidential materials within the 60-day period.

           (b)    Notwithstanding paragraph 9(a), each attorney may retain a copy of any

                  confidential document submitted to the court.
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9.     Security Precautions and Data Breaches.

          (a)     Each party must make reasonable efforts to protect the confidentiality of any

                  confidential document disclosed or produced to that party.

          (b)     A party who learns of a breach of confidentiality must promptly notify the

                  disclosing or producing party of the scope and nature of that breach and make

                  reasonable efforts to remedy the breach.

10.    Survival of Obligations. The obligations imposed by this protective order survive the

       termination of this action.




DATED:      June 29, 2020                        s/Leo I. Brisbois
                                                 Hon. Leo I. Brisbois
                                                 U.S. MAGISTRATE JUDGE




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                                             EXHIBIT A

             I hereby acknowledge that I have received a copy of the Protective Order entered in

Jimmy Morton v. Park Christian School, Christopher Nellermoe, Joshua Lee, and Timothy Kerr,

Case No. 19-cv-03134 in the United States District Court for the District of Minnesota. I have

read and understand the terms of the Protective Order, and I agree to be bound by all of the terms

thereof. I understand that any violation of the Protective Order may subject me to sanctions by

the Court.

         I shall not divulge any documents, or copies of documents, designated “confidential”

obtained pursuant to the Protective Order, or the contents of such documents, to any person other

than those specifically authorized by the Protective Order. I shall not copy or use such

documents except for the purposes of this action and pursuant to the terms of the Protective

Order.

         As soon as practical, no later than thirty (30) days after final termination of this action, I

will return to the attorney from whom I have received them, any documents in my possession

designated as “confidential” and all copies, excerpts, summaries, notes, digests, abstracts, and

indices relating to such documents.

         I submit myself to the jurisdiction of the United States District Court for the District of

Minnesota for purposes of enforcing or otherwise providing relief relating to the Protective

Order.



Date                                     Name




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